859 F.2d 151Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Darrell L. WHITE, Plaintiff-Appellant,v.A.V. DODRILL, Commissioner of West Virginia Department ofCorrections, C.B. White, "Bud", Warden, HuttonsvilleCorrectional Center, Danny Jones, Sheriff of Kanawha County,Frank Crawford, Chief Jailer, Kanawha County Jail, MaryBalcom, Officer/Jailer, Kanawha County Jail, Defendants-Appellees.
    No. 88-7124.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 6, 1988.Decided Sept. 19, 1988.
    
      Darrell L. White, appellant pro se.
      Before K.K. HALL and CHAPMAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Darrell L. White appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  White v. Dodrill, C/A No. 2:88-0563 (S.D.W.Va. Apr. 25, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    